                          Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 1 of 18


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kalera, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Kalera (Florida) Inc.
     Include any assumed          DBA Kalera (Texas) Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Gateway Business Center 23
                                  18000 East 40th Avenue
                                  Aurora, CO 80011
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  7159 Rankin Road Humble, TX 77396
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.kalera.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 2 of 18
Debtor    Kalera, Inc.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1114

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 3 of 18
Debtor    Kalera, Inc.                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?           Houston, TX; Denver, CO; and Orlando, FL
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency    Marsh Mclennan Agency
                                                               Contact name        Amy Klitzke
                                                               Phone               763-746-8632


          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Kalera, Inc.                                                                Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                         Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 5 of 18
Debtor    Kalera, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 4, 2023
                                                  MM / DD / YYYY


                             X   /s/ Mark Shapiro                                                         Mark Shapiro
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Elizabeth A. Green - So. Dist. Fed ID 903144                          Date April 4, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Elizabeth A. Green - So. Dist. Fed ID 903144
                                 Printed name

                                 Baker & Hostetler LLP
                                 Firm name

                                 200 S. Orange Avenue
                                 Suite 2300
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     407-540-7920                  Email address      egreen@bakerlaw.com

                                 #903144 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                                      United States Bankruptcy Court
                                                               Southern District of Texas
 In re    Kalera, Inc.                                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder


Kalera S.A.
15 Boulevard F-d
Roosevelt Lumembourg
2450 Luxembourg                                                                   100%                                       Common Stock




DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date          April 4, 2023                                              Signature        /s/ Mark Shapiro
                                                                                        Mark Shapiro

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                   Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 7 of 18




                                         United States Bankruptcy Court
                                                Southern District of Texas
 In re   Kalera, Inc.                                                                 Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Kalera Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Kalera PLC (indirect ownership)
10 Earlsfort Terrace
Dublin 2
D DO2 T380 Ireland
Kalera S.A.
15 Boulevard F-d
Roosevelt Lumembourg
2450 Luxembourg




 None [Check if applicable]




 April 4, 2023                                      /s/ Elizabeth A. Green
Date                                            Elizabeth A. Green - So. Dist. Fed ID 903144
                                                Signature of Attorney or Litigant
                                                Counsel for Kalera Inc.
                                                Baker & Hostetler LLP
                                                200 S. Orange Avenue
                                                Suite 2300
                                                Orlando, FL 32801
                                                407-540-7920 Fax:407-841-0168
                                                egreen@bakerlaw.com
                               Case 23-90290 Document 1 Filed in TXSB on 04/04/23 Page 8 of 18



 Fill in this information to identify the case:
 Debtor name Kalera, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders
12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aaron's Electrical              Caleb Aaron Talley Vendor                                                                                                              $116,632.35
 Services                        calebt@aaronselec
 PO Box 156                      trical.com
 Tavares, FL 32778               352-602-5565

 AFCO Premium                    Simone Lassere                 Vendor                                                                                                  $255,046.44
 Credit LLC                      877-701-1212
 PO Box 371889                   customerservice@
 Pittsburgh, PA                  afco.com
 15250-7889

 BBI Logistics                   Joseph Anderson Vendor                                                                                                                 $197,991.35
 80 E Rich Street                800-809-2172 X569
 Columbus, OH                    janderson@bbilogi
 43216                           stics.com

 Bluedog Design,                 Katie Chambers    Vendor                                                                                                                 $85,000.00
 LLC                             773-991-2177
 403 N. Carpenter St.            Katie@bluedogdesi
 Chicago, IL 60642               gn.com

 Choptank Transport              Christina Stump    Vendor                                                                                                              $112,881.85
 3601 Choptank Rd.               410-673-1683
 PO Box 99                       Christina.stump@c
 Preston, MD 21655               hoptanktransport.c
                                 om
 FTI Consulting                  Joseph DeSantis,   Professional                                                                                                        $252,781.54
 1201 West                       Jr.                Services
 Peachtree St                    404-460-6200
 Atlanta, GA
 30309-0000

 Grant Thornton LLP              Todd Piacentine   Professional                                                                                                         $345,622.00
 200 S. Orange Ave.              407-481-5100      Services
 Ste. 2050                       Todd.Piacentine@u
 Orlando, FL 32801               s.gt.com

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 1

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 Debtor    Kalera, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Greenberg Traurig               Cindy Helton      Professional                                                                                                         $273,491.04
 450 S. Orange Ave.              407-254-2627      Services
 Suite 650                       heltonc@gtlaw.coc
 Orlando, FL 32801

 Heidrick &                      Catlin Phillips                Professional                                                                                            $143,637.42
 Struggles                       312-496-1773                   Services
 233 South Wacker                caphillips@heidric
 Drive                           k.com
 STE 4900
 Chicago, IL 60606

 House of Plastics               Alice Quinones   Vendor                                                                                                                $352,053.86
 Unlimited Inc.                  407-843-3290
 2580 S Orange                   aquinones@hopu.c
 Blossom Trail                   co
 Orlando, FL 32805

 HPNow ApS                       Cord Nunez                     Vendor                                                                                                  $121,900.00
 Sydmarken 32 F,                 +45 42 65 84 07
 2860                            cord@hpnow.eu
 Soeborg, Denmark
 Lacey Industrial II             Lucy Rickard        Landlord                                                                                                           $121,949.78
 LLC(Seattle)                    206-438-4349
 6811 S 204th St. #390           lrickard@idrealesta
 Kent, WA 98032                  te.com


 Lambert                         Tim Northrup      Vendor                                                                                                               $323,822.63
 47 Commerce Ave                 616-233-0500
 SW                              tnorthrup@lambert
 Grand Rapids, MI                .com
 49503

 Multivac                        Cem Yildirim      Vendor                                                                                                               $162,350.36
 11021 N Pomona                  816-665-2823
 Ave                             Cem.yildirim@mult
 Kansas City, MO                 mult.com
 64153

 Negotiatus/Order.co support@order.co                           Vendor                                                                                                  $156,178.33
 m
 156 Fifth Ave.
 7th Floor
 New York, NY 10010




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 2

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 Debtor    Kalera, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NIP Group, Inc.                 800-446-7674                   Vendor                                                                                                  $146,219.94
 Lockbox 10313                   info@nipgroup.co
 P.O. Box 70280                  m
 Philadelphia, PA
 19176-0280

 Oslo Bors/                      +47.22.34.18.60   Professional                                                                                                           $98,079.26
 EuroNext/Danske
 Bank
                                 listingoslo@euron Services
 Box 460 Sentrum                 ext.com
 0105 Oslo
 Norway
 Preferred Cabling               Gary Nugent       Services                                                                                                               $91,080.00
 Systems, LLC/PCS                561-402-6838
 4095 Southern Blvd,             garyn@preferredca
 #208                            bling.com
 West Palm Beach,
 FL 33406


 Proseal America                 Abby Barron                    Equipment Lease                                                                                           $81,081.60
 7611 Whitepine                  804-447-9038
 Road                            Abby.Barron@JBT
 Richmond, VA                    C.com
 23237



 Rijk Zwaan USA Inc.             Reshel Barker      Vendor                                                                                                                $94,407.10
 701 La Guardia                  831-455-3000
 Street, Suite A                 r.barker@rijkzwaan
 Salinas, CA 93905               .com


 Scotlynn USA                    Josh Prues         Vendor                                                                                                              $163,017.81
 Division                        800-263-9117 x2301
 9597 Gulf Research              jprues@scotlynn.c
 Lane                            om
 Ft. Myers, FL 33912

 SmashBrand LLC                  Kevin Smith                    Vendor                                                                                                  $118,919.54
 3100 N. Lakeharbor              877-429-4812
 Lane                            kevin@smashbran
 Ste. 164                        d.com
 Boise, ID 83703




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 3

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 Debtor    Kalera, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Steven Douglas                  Tammy L. Davis   Professional                                                                                                          $104,846.86
 13450 W Sunrise                 813-596-5795     Services
 Blvd.                           TDavis@stevendou
 Suite 200                       glas.com
 Sunrise, FL 33323


 Tom Barrow Co.                  Robin Friley                   Vendor                                                                                                  $437,715.94
 732 Joseph E                    404-605-8243
 Lowery Blvd NW                  rfiley@tombarrow.
 Atlanta, GA 30318               com


 TripActions          Julie Nguyen                              Vendor                                                                                                    $85,000.00
 3045 Park Blvd       jnguyen@tripactio
 Palto Alto, CA 94306 ns.com



 Turatti North                   Alessandro Turatti             Vendor                                                                                                  $759,766.00
 America, Inc.                   831-800-3922
 PO Box 1848                     alessandro.turatti
 Salinas, CA 93902               @turatti.com


 Viscon Group NA    Jolene Braun                                Vendor                                                                                                  $108,855.90
 Ltd.               226-936-1519
 1587B County Rd 34 j.braun@viscon.eu
 PO Box 59
 Ruthven,ON
 N0P 2G0


 WPC IV, LLC/Winter              Daniel Sacks                   Vendor                                                                                                $1,666,533.42
 Park Construction               dsacks@wpc.com
 529 E. Crown Point              407-924-4617
 Rd.
 Ste. 140
 Ocoee, FL 34761

 Xcel Energy                     800-481-4700                   Utility                                                                                                   $93,791.39
 PO Box 8
 Eau Claire, WI
 54702-0008
 Yamato Corporation              Ikumi Beacham   Vendor                                                                                                                 $293,841.00
 1272 Dakota Dr.                 262-236-0000
 Grafton, WI 53024               ikumi_beacham@y
                                 amatocorp.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 4

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Fill in this information to identify the case:
Debtor name         Kalera, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 4, 2023                   X /s/ Mark Shapiro
                                                           Signature of individual signing on behalf of debtor

                                                            Mark Shapiro
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                         KALERA, INC.
                                     (a Delaware corporation)

                              ACTION BY WRITTEN CONSENT
                               OF THE SOLE DIRECTOR OF
                                     KALERA, INC.

        The undersigned, being the sole director (the “Director”) on the Board of Directors (the
“Board”) of Kalera, Inc. (the “Company”), a Delaware corporation, pursuant to Section 141(f) of
the Delaware General Corporation Law, hereby consents to, authorizes and adopts the following
resolutions, which shall be deemed to be effective as of the date set forth below:

        WHEREAS, the Director has considered, among other things, the financial and
operational condition of the Company, the Company’s business on the date hereof, the assets of
the Company, the current and long-term liabilities of the Company, the liquidity situation of the
Company, the strategic alternatives available to the Company to address the fiscal condition of the
Company, the effect of the foregoing on the Company’s business, and the advice of management
and the Company’s legal and financial advisors;

        WHEREAS, the Director has had the opportunity to consult with the management and
legal and financial advisors of the Company and to fully consider each of the strategic alternatives
available to the Company and, based on its analysis and available information, deems it advisable
and in the best interests of the Company, its creditors and other parties in interest, that the Company
file a voluntary petition for relief (the “Chapter 11 Case” and, together with any chapter 11 cases
of the Company’s affiliate(s), the “Chapter 11 Cases”) under the provisions of chapter 11 of title
11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”);

        WHEREAS, in connection with the Chapter 11 Cases, the Director deems it advisable and
in the best interests of the Company, its creditors and other parties in interest, that the Company
appoint an additional director to the Board (the “Independent Director”) and such Independent
Director be vested with the authority to provide any approvals and issue any resolutions or written
consents on behalf of the entire Board and Company, without further consultation with the other
Director(s), required in relation to the Chapter 11 Cases and any related proceedings, whether prior
to or following the commencement of the Chapter 11 Cases, and furthermore, that Curtis
McWilliams, being found duly qualified and disinterested to act as the Independent Director, shall
be appointed as a member to the Board and appointed to serve as the Independent Director for the
Company and, in such capacity, vested with such duties and authority as may be necessary to
effectuate the intent and purpose of the Independent Director and these resolutions;

        WHEREAS, in connection with the Chapter 11 Cases, each Director and Independent
Director deem it advisable and in the best interests of the Company to establish and create the
office of the chief restructuring officer of the Company (the “Chief Restructuring Officer”), which
shall be vested with the authority and shall be responsible for, among other things (collectively,
the “CRO Duties”): (i) consulting on all aspects of the Company’s business activities and
operations, including budgeting, cash management and financial management; (ii) opening and
closing bank accounts; (iii) assisting with communications and negotiations with the Company’s
lenders, vendors and other stakeholders; (iv) reviewing daily operating activity, purchases,
and
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expenses; (v) evaluating liquidity options including restructuring, refinancing, reorganizing, or a
sale of the Company’s assets; (vi) causing the Company to exercise its rights under certain
agreements; (vii) reviewing historical and projected financial information, including operating
results, capital structure and funding mechanics, for the Company and each of its affiliates;
(viii) working with the Company to develop financial projections and a liquidity projection model
to help assess capital needs; (ix) identifying and assessing potential restructuring alternatives;
(x) attending hearings and providing information and analyses for inclusion in court filings and
testimony related thereto; (xi) providing in-court testimony as representative of the Company, as
may be required; (xii) supporting negotiations with the creditors and other constituents in the
Chapter 11 Cases; (xiii) negotiating the terms of debtor in possession financing; (xiv) supervising
the preparation of monthly financial reports, as required of a debtor in possession, and other
financial reporting as may be required or requested by the Office of the United States Trustee;
(xv) assisting the Company with the preparation of any schedules, statements, debtor in possession
financing budgets and other documents as may be required or prudent in the Chapter 11 Cases;
(xvi) assisting the Company in preparing, maintaining and monitoring cash flow projections and
weekly variance analyses; (xvii) assisting the Company pursue a sale or other transaction through
the Chapter 11 Cases, (a) working with the Company and its professionals to maximize the value
of the Company’s assets, (b) developing a plan for the marketing and sale of the assets of and/or
to reorganize the Company, (c) providing financial advice and assistance to the Company in
connection with a sale or other transaction, and (d) facilitating and conducting any auctions or
other competitive bidding in connection with the sale of the assets of the Company; (xviii) pursuing
litigation and claims the Company may have against other parties; (xix) negotiating, proposing
and executing a plan of reorganization or liquidation as is appropriate in the Chapter 11 Cases,
subject to approval by the Bankruptcy Court (defined below); (xx) approving and executing any
pleading or other papers and documents appropriate in the Chapter 11 Cases to be filed with the
Bankruptcy Court or otherwise; and (xxi) serving as the “Responsible Party” for all corporate
decisions arising in or associated with the Chapter 11 Cases, subject to consultation with the
Independent Director;

        WHEREAS, the Director and Independent Director have considered individuals and firms
deemed suitable to serve as Chief Restructuring Officer for the Company and competently perform
the CRO Duties, and serve as authorized delegate of the Director and Independent Director in
connection with the Chapter 11 Cases, and based on the Director’s and Independent Director’s
evaluation of potential candidates for Chief Restructuring Office and their respective
qualifications, capabilities, and experience, deem Mark Shapiro, Senior Managing Director of
GlassRatner Advisory & Capital Group, LLC dba B. Riley Advisory Services (“B. Riley”),
qualified and competent to serve as Chief Restructuring Officer; and

        WHEREAS, the Director and Independent Director have evaluated the financial condition
of the Company and projected costs and expenses of maintaining operations and preserving assets
of the Company and funding restructuring and/or liquidation costs through conclusion of the
Chapter 11 Cases, and based thereon, have concluded that the Company may require additional
funding or financing to cover anticipated costs and expenses (“DIP Financing”) and, furthermore,
that such funding may be unavailable without granting the lender(s) certain favorable terms,
including first-priority priming liens on assets of the Company, superpriority administrative claims
in the Chapter 11 Cases, and milestones for the completion of sale processes or other aspects of
the Chapter 11 Cases;
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        NOW, THEREFORE, BE IT RESOLVED, that effective immediately, the number of
directors constituting the Board shall be increased from one (1) to two (2) members;

       FURTHER RESOLVED, that the Director appoints Curtis McWilliams as the second
member of the Board and, in addition to acting as a member of the Board in all ordinary respect,
designates Curtis McWilliams to act as the Independent Director for the Company; and it is

        FURTHER RESOLVED, that the Independent Director is vested with all duties and
authorities of the Independent Director enumerated herein and any further or additional duties and
obligations as may be necessary or appropriate to carry out or exercise such duties and authorities
or effectuate the purposes and intent of these resolutions; and it is

       FURTHER RESOLVED, that the Directors and Independent Director hereby ratify and
approve the creation of the office of the Chief Restructuring Officer for the Company; and it is

        FURTHER RESOLVED, that the Chief Restructuring Officer shall be, and hereby is,
authorized to act as the authorized representative of the Company, including, without limitation,
executing any and all documents and authorizing any acts he or she deems reasonable, advisable,
expedient, convenient, proper or necessary to the efficient and expedient commencement and
administration of and/or exit from the Chapter 11 Cases, in the Chapter 11 Cases and any
proceedings and transactions arising in or related to the Chapter 11 Cases, or the reorganization or
liquidation of the Company by and through the Chapter 11 Cases, and otherwise to perform any
of the CRO Duties or other duties or actions reasonably necessary to represent the Company in
association with the Chapter 11 Cases and any proceedings or transactions arising in or related to
the Chapter 11 Cases, provided that the Chief Restructuring Officer shall consult when appropriate
with the Independent Director on all of foregoing matters; and it is

        FURTHER RESOLVED, that the Independent Director shall be, and hereby is,
authorized to cause the Company to retain Mark Shapiro of B. Riley as Chief Restructuring Officer
and to take any and all actions necessary or required under the terms of the B. Riley engagement
agreement, including, without limitation, the payment and replenishment of any retainers and
provision of insurance coverage; and it is

         FURTHER RESOLVED, that, in the judgment of the Director and Independent Director,
it is desirable and in the best interests of the Company, its creditors and other parties in interest,
that the Company shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition
for relief (the “Petition”) under chapter 11 of the Bankruptcy Code in the United States Bankruptcy
Court for the Southern District of Texas, Houston Division, or such other court as the Chief
Restructuring Officer, in consultation with the Independent Director, shall determine to be
appropriate (the “Bankruptcy Court”), and any other petition for relief or recognition or other order
that may be desirable under applicable law, and the Chief Restructuring Officer, in consultation
with the Independent Director, is authorized to perform any and all acts reasonable, advisable,
expedient, convenient, proper or necessary to effect any of the foregoing; and it is

       FURTHER RESOLVED, that the Chief Restructuring Officer shall be, and hereby is,
authorized and directed to execute and file on behalf of the Company all petitions, schedules, lists,
and other motions, papers, or documents, and to take any and all actions the Chief Restructuring
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Officer deems necessary or proper to obtain such relief, including, without limitation, any actions
necessary to maintain the ordinary course operation of the Company’s business; and it is

         FURTHER RESOLVED, that the Chief Restructuring Officer shall be, and hereby is,
authorized and directed, on behalf of the Company, to retain and employ the law firm of Baker &
Hostetler LLP as general bankruptcy counsel to represent and assist the Company in carrying out
its duties as debtor in possession under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights, interests and obligations, including, without limitation,
commencing the Chapter 11 Cases, filing any motions, objections, replies, applications or
pleadings, and commencing, prosecuting and resolving any claims or causes of action arising out
of, related to or in connection with the Chapter 11 Cases and/or resolution of any issues or
liabilities or exercise of any rights of the Company in the Chapter 11 Cases or any related
proceedings; and it is

       FURTHER RESOLVED, that the Chief Restructuring Officer, in consultation with the
Independent Director, shall be, and hereby is, authorized and directed to execute and deliver on
behalf of the Company any and all appropriate engagement or retention agreements for Baker &
Hostetler LLP, to pay any appropriate retainers due thereunder, and to cause to be filed in the
Chapter 11 Cases an appropriate application for authority to retain the services of Baker &
Hostetler LLP as general bankruptcy counsel in the Chapter 11 Cases; and it is

        FURTHER RESOLVED, that the Independent Director shall be, and hereby is authorized
and directed, on behalf of the Company, to retain and employ B. Riley as restructuring and
financial advisor to represent and assist the Company and Chief Restructuring Officer in carrying
out their respective duties and obligations under the Bankruptcy Code and any associated
engagement agreement(s), and to take any and all actions to advance the Company’s rights,
interests and obligations; and it is

        FURTHER RESOLVED, that the Independent Director, without consultation with the
Chief Restructuring Officer, shall be, and hereby is, authorized and directed to execute and deliver
on behalf of the Company any and all appropriate engagement or retention agreements for B. Riley,
to pay any appropriate retainers due thereunder, and to cause to be filed in the Chapter 11 Cases
an appropriate application for authority to retain the services of B. Riley as restructuring and
financial advisor and, to the extent necessary or advisable, Chief Restructuring Officer in the
Chapter 11 Cases; and it is

        FURTHER RESOLVED, that the Chief Restructuring Officer shall be, and hereby is
authorized and directed, on behalf of the Company, to retain and employ BMC Group, Inc. as
notice and claims agent to represent and assist the Company and Chief Restructuring Officer in
carrying out their respective duties and obligations under the Bankruptcy Code, and to take any
and all actions to advance the Company’s rights, interests and obligations or as may be deemed by
the Chief Restructuring Officer to be reasonable, advisable, expedient, convenient, proper or
necessary to the efficient and expedient administration of the Chapter 11 Cases or any related
proceedings; and it is

      FURTHER RESOLVED, that the Chief Restructuring Officer, in consultation with the
Independent Director, shall be, and hereby is, authorized and directed to execute and deliver on
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behalf of the Company any and all appropriate engagement or retention agreements for BMC
Group, Inc., to pay any appropriate retainers due thereunder, and to cause to be filed in the Chapter
11 Cases an appropriate application for authority to retain the services of BMC Group, Inc. as
noticing and claims agent in the Chapter 11 Cases; and it is

        FURTHER RESOLVED, that the Chief Restructuring Officer, in consultation with the
Independent Director, and without further resolution or authorization from the Board, shall be, and
hereby is, authorized to retain or employ any other professionals or advisors deemed by the Chief
Restructuring Officer to be reasonable, advisable, expedient, convenient, proper or necessary to
the efficient and expedient administration of the Chapter 11 Cases or any related proceedings,
including, without limitation, investment bankers, accountants, special counsel, or local counsel,
provided, however, that the Chief Restructuring Officer shall not retain or employ any
professionals or advisors with B. Riley or any affiliate of B. Riley without express written
authorization from the Independent Director; and it is

       FURTHER RESOLVED, that the Chief Restructuring Officer, in consultation with the
Independent Director, shall be, and hereby is, authorized and directed to negotiate and obtain
proposals for DIP Financing that the Chief Restructuring Officer deems to be reasonable,
advisable, expedient, convenient, proper or necessary under the circumstances presented; and it is

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken or to be
taken by the Company, Director, Independent Director and/or Chief Restructuring Officer in
connection with the implementation of these resolutions, including any actions taken prior to the
adoption of these resolutions, in all respects are hereby ratified, confirmed and approved in their
entirety; and it is

        FURTHER RESOLVED, that the Independent Director and Chief Restructuring Officer,
shall be, and each hereby are, authorized to take or cause to be taken any and all such further
actions, to execute and deliver any and all such further agreements, instruments, documents, and
certificates, and to pay all expenses on behalf of the Company, as the Independent Director or
Chief Restructuring Officer deem necessary or advisable to effect the purpose and intent of the
resolutions hereby adopted, the taking of such actions, the execution and delivery of such
agreements, instruments, documents, and certificates by the Independent Director or Chief
Restructuring Officer to be conclusive evidence of his or her authorization hereunder and approval
thereof; and it is

       FURTHER RESOLVED, the Independent Director and Chief Restructuring Officer, shall
be, and each hereby are, authorized and directed to execute and file with the appropriate
governmental agencies of any jurisdiction they deem appropriate such documents as may be
necessary or appropriate under the laws of any applicable jurisdiction; and it is

        FURTHER RESOLVED, that any and all such actions heretofore taken and any and all
documents, agreements, instruments, certificates, or instructions (however characterized or
described) heretofore executed and delivered or filed and recorded, as the case may be, by the
Independent Director or Chief Restructuring Officer on behalf of the Company, in order to carry
into effect the purpose and intent of these resolutions or the actions or transactions contemplated
herein or hereby are ratified, adopted, approved, and confirmed in all respects; and it is
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        FINALLY RESOLVED, the Independent Director and Chief Restructuring Officer, shall
be, and each hereby are, authorized and directed to take any and all actions, and to do all acts and
things whatsoever, including incur any expenses, which may be necessary, advisable, appropriate,
or proper to carry out and effectuate the purpose and intent of these resolutions.

        IN WITNESS WHEREOF, the undersigned has executed this Action by Written Consent
of the Sole Director of Kalera, Inc. as of and effective on March 31, 2023.




                                              _________________________________
                                              Cristian Toma, DIRECTOR
